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Attorneys for Plaintiff Brenda Flores-Nunez
UNITED STATES i COURT
if
SOUTHERN DISTRIC

OF CALIFORNIA ~ [
BRENDA FLORES-NUNEZ, Cas

“0g cv 1881 W CAB

COMPLAINT FOR DAMAGES FOR
VIOLATION OF CIVIL RIGHTS

Plaintiff,
Vv.

CORBIN DILLON, JURY TRIAL REQUESTED) |
HAROLD CARTER,
RAYMOND LOERA,
COUNTY OF IMPERIAL,

and DOES 1-100, inclusive.

Defendants.

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Brenda Flores-Nunez, (“Plaintiff”), by and through her attorneys, David J. Zugman, Gary P.
Burcham, Terry Singleton, and Gerald Singleton, hereby states and alleges as follows:
INTRODUCTORY STATEMENT
1. Title 42 U.S.C. Section 1983 provides a civil remedy for the violation of a person’s
constitutional or statutory rights by any person who is acting under the color of state law. In the instant
matter, Plaintiff was sexually abused by Imperial County Deputy Sheriff Defendant Corbin Dillon at the

Imperial County Jail (“ICJ”) while Defendant Dillon was engaged in the performance of his official duties

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as anICJ Correctional Officer. Plaintiff was coerced into sexual contact with Defendant Dillon based upon
Defendant Dillon’s promises to her, while Plaintiff was in protective custody after attempting to harm
herself just hours earlier, that if she provided sexual favors to him, he would help her secure her release
from custody on bond.

2. Plainly, the sexual abuse of an inmate violates rights accorded to her under the Constitution
and laws of the United States. See Schwenk v. Hartford, 204 F.3d 1187, 1197 (where guards themselves
are responsible for the rape and sexual abuse of inmates, qualified immunity offers no shield); Mathie v.
Fries, 935 F. Supp. 1284, 1301 (E.D. N.Y. 1996) (denying qualified immunity to director of prison security
because “any reasonable prison Director of Security knew that to try to force unwanted and prohibited
sexual acts on a powerless inmate is objectively unreasonable and in violation of the inmates rights”). The
County of Imperial (“County”) shares culpability in this invasion of Plaintiffs rights as Defendant Dillon’s
predatory behavior was allowed to occur and caused by a policy or custom made, implemented and/or
ratified by these Defendants which directly caused Plaintiff's injuries. The circumstances were such that
the failure of Imperial County to address sufficiently this rampant problem at the ICJ that Monell v.
Department of Soc. Svcs., 436 U.S. 658 (1978), liability is appropriate.

3. Sheriff Dillon violated Plaintiff's constitutional rights by using his position of power and
authority over Plaintiff to extort sexual conduct from her. Defendants County, Sheriffs Carter and Loera,
and other DOE Defendants are liable for Sheriff Dillon’s violation of Plaintiff's personal bodily integrity
and her constitutional right not to be sexually abused. Plaintiff was in the County’s custody and it owed
her a duty of care to protect her from potential threats to her health and welfare. Defendant County, Sheriffs
Carter and Loera, and other DOE Defendants breached their duty to protect Plaintiff by failing to train and
supervise Sheriff Dillon both prior to and on the night of the assault. Failing to train and/or supervise
guards which allows those guards to sexually assault inmates states a cause of action under Section 1983.
Kahle v. Malone, 477 F.3d 544, cert. denied, 128 S. Ct. 201 (8th Cir. 2007). Further, Plaintiff believes that
Defendant County, Sheriffs Carter and Loera, and other DOE Defendants were on notice of Sheriff Dillon’s
possible misconduct because of prior incidents, but did not act to remedy the threat.

4. The incident in which Defendant Dillon coerced Plaintiff into having sexual relations with

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him was not isolated. Plaintiff is informed and believes that Defendant Dillon also had sexual relations
with numerous other female inmates at the ICJ, and that other ICJ guards, including Officer James Morris
who suffered a felony conviction for sexually abusing no less than three female inmates, also were sexually
abusing female inmates.

5. Defendant Dillon, and DOE Defendants, acted separately and together to deprive Plaintiff
of rights guaranteed to her by the laws of this country and state. Imperial County is liable in this matter as
the lack of supervision, training, and response to this problem constituted a policy or custom in support of
Defendant Dillon’s behavior which necessitates a finding of Monell liability.

JURISDICTION

6. This Court has jurisdiction to hear this case pursuant to Title 42 U.S.C. § 1983, Title 28
U.S.C. §§ 1331 and 1343, and Article III of the United States Constitution. The Southern District of
California is the proper venue because the acts and omissions alleged herein occurred in the County of

Imperial, State of California, which is located within the Southern District of California.

THE PARTIES
7. Plaintiff Brenda Flores-Nunez is a 29 year-old female.
8. Defendant County is a duly organized municipal corporation located in the State of
California.
9. Defendant Harold Carter was, at certain times before and during the times set forth herein,

the duly elected Sheriff of the County. As such, he was the commanding officer of the ICSD. He is sued
both individually and in his official capacity.

10. Defendant Ray Loerais, and was at certain times, during the times set forth herein, the Sheriff
of the County after Harold Carter left the position. As such, he was the commanding officer of the ICSD.
He is sued both individually and in his official capacity.

11. Defendant, Corbin Dillon is, and at all times herein mentioned was, a law enforcement officer
employed by the County through the Imperial County Sheriff's Department (“ICSD”). In the course of his
duties and acting under color of law, he inflicted the violations of civil rights alleged herein. Defendant

Dillon is responsible by law for enforcing the regulations of the County and the ICSD and for ensuring that

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[Injuries and Violation of Civil Rights 3

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the other as yet unidentified DOE Defendants obeyed the laws of the State of California and the United
States.

12. The unknown individuals who committed the acts, including those charged with training and
supervising Sheriff Dillon and those who had a duty of care to protect Plaintiff, are sued as DOES. Plaintiff
will seek leave to amend the Complaint to allege the true identities of these individuals when their identities
are discovered. The true names and capacities, whether individual, corporate, associate, or otherwise, of
defendant DOES 1 through 100, inclusive, are unknown to Plaintiff who therefore sues said Defendants
by such fictitious names. Plaintiff is informed and believes and thereon alleges that each of the Defendants
designated herein as “DOE” intentionally, negligently or in some other manner participated in the events
and happenings herein referred to and negligently or in some other manner caused injuries proximately and
directly to Plaintiff as herein alleged.

13. At all times mentioned herein, each of the Defendants, including those designated by
fictitious names, were the agents and employees of the remaining Defendants, and in acting in the manner
stated herein, were acting within the course and scope of such agency and/or employment, and also were
acting in concert with one another.

FACTUAL ALLEGATIONS

14. In October 2006, Defendant Dillon was employed by the County and assigned to the ICJ as
a Correctional Officer. As part of his job, he had direct contact with female inmates. It is believed that
Defendant Dillon is married to the grand-daughter of Defendant Carter.

15. | On or about October 18, 2006, Plaintiff was arrested by Imperial County Sheriff Deputies
on suspicion of shoplifting in the Imperial Valley Mall.

16. Plaintiff was despondent and severely depressed following her arrest. Plaintiff has a history
of suffering from severe depression and has received a significant amount of treatment for her depression
in the past. Plaintiff also has been prescribed mental health drugs as part of her treatment for depression.

17. Following her arrest, Plaintiff was allowed to use a restroom, accompanied by a female
officer. While Plaintiff was in a restroom stall, she attempted to commit suicide by cutting herself with a

sharp object on her wrists and arms.

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18. The female officer opened the stall door and found Plaintiff bleeding. The officer called
paramedics to the scene and Plaintiffs self-inflicted wounds were treated by medical personnel.

19. Plaintiff then was transferred to ICJ. Upon her arrival at ICJ, Plaintiff was placed in a
segregated cell for observation and was given only a gown to wear for clothing. Plaintiff was put on suicide
watch to protect her against any further harm she might try to cause herself. Plaintiff was told that she was
going to be held in the cell for the night for observation. Plaintiff was given an injection believed to be
some sort of sedative prior to being locked in the call.

20. Plaintiff remained despondent and severely depressed following her booking into ICJ.
Plaintiff also was feeling physically ill while she was locked in the cell.

21. Sometime during the night, Defendant Dillon entered Plaintiffs cell. Defendant Dillon
shined a flashlight on Plaintiff when he entered the cell, and he subsequently entered and exited multiple
times. Plaintiff was in an isolated and vulnerable state given her general emotional fragility and having had
attempted suicide a few hours earlier.

22. Defendant Dillon spoke with Plaintiff about various things while in the cell, including asking
her personal questions, asking her why she had been arrested, and discussing her bail with her. Defendant
Dillon also told Plaintiff that he thought she was pretty.

23. During one of these exchanges, Defendant Dillon told Plaintiff that he could help her bail out
of custody. Defendant Dillon then asked Plaintiff if she would remove her gown and show him her naked
body.

24. Plaintiff, who remained in a severely depressed and fragile emotional state, believed that if
she did what was asked by Defendant Dillon, he would help her obtain her release on bond. She also
believed that if she did not do what Defendant Dillon asked, she would not be released, and that Defendant
Dillon might retaliate against her for rejecting his advances.

25. For these reasons, Plaintiff exposed her body to Defendant Dillon, and Defendant Dillon
made comments to the effect that he thought that she was pretty and that he liked her body.

26. Defendant Dillon then began unbuttoning his pants and he told Plaintiff that he wanted her

to give him oral sex.

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27. Again believing that agreeing to Defendant Dillon’s requests was the only way she would
be released on bond, and also fearing retaliation if she refused to agree to his request, Plaintiff got on her
knees in front of Defendant Dillon and performed oral sex on him.

28. Plaintiff performed oral sex on Defendant Dillon for a period of what she believes to be
between three and five minutes. Defendant Dillon ejaculated in her mouth while Plaintiff was giving him
oral sex. Immediately after ejaculating in Plaintiffs mouth, Defendant Dillon pulled up his pants, buttoned
them, and left the cell, leaving Plaintiff kneeling on the floor.

29. Defendant Dillon did not return to the cell. The next person to enter the cell was a
psychiatrist who entered the cell early in the morning to check on Plaintiff.

30. Defendant Dillon’s actions took place over the course of the night and required that no
supervisor was monitoring his activities and that there was no supervision of his conduct.

31. Plaintiff's mental and physical conditions worsened as a result of her sexual abuse by
Defendant Dillon. Plaintiffs depression became more pronounced, she felt dazed, and she felt physically
ill as a result of her encounter with Defendant Dillon.

32. Plaintiff was not released on bond as Defendant Dillon had promised. Once she returned to
the ICJ general population, she spoke with other inmates about what had occurred and other inmates told
her that other females also had been sexually abused by guards, including Defendant Dillon, at ICJ.

33.  Plaintiffdid not report the actions of Defendant Dillon to authorities at ICJ because she feared
retaliation by guards and/or other inmates if she disclosed what had occurred. Her fear of retaliation was
based, in part, on comments that were made to her that Defendant Dillon was related to the sheriff, and that
she would be retaliated against if she spoke up about what occurred.

34. This incident of sexual abuse of female inmates by ICJ guards was not an isolated incident.

35. Adriana Fernandez was being held at the Imperial County Jail as a pretrial detainee in a
federal case. James Morris (“Morris”) was one of the Correctional Officers with whom Ms. Fernandez
came into contact with during her stay at ICJ. Soon after her arrival, Morris made small talk with Ms.
Fernandez, saying that he had recognized her from a previous term at the ICJ. The small talk from Morris

progressed from flirtation to repeated and persistent requests that Ms. Fernandez engage in sexual relations

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with him. Morris made it clear to Ms. Fernandez that her acquiescing to his sexual desires would benefit
her during her time in custody, while failing to do so would result in harsher treatment. After engaging in
sexual contact with Morris, Ms. Fernandez started suffering symptoms from venereal diseases she had
contracted from Morris, including syphilis, and two strains of herpes.

36. | Morris was arrested and prosecuted by the Imperial County District Attorney’s Office for his
sexual conduct with Ms. Fernandez. On September 13, 2007, Morris pled guilty to one felony count
(violation of Cal. Penal Code Section 289.6(a)(2)) for the conduct outlined above. A total of 3 victims were
named in the criminal complaint and sentencing forms issued by the Imperial County Superior Court.

37. Plaintiff is informed and believes that this sexual misconduct was well known to other
inmates and to other correctional officers, including supervisory employees of the ICSD and the County
who worked at the ICJ. Additionally, Plaintiff is informed and believes that there were other ICSD and
County employees who also sexually abused female inmates during this time period. The actions of
Defendants Dillon, Morris, and other ICSD and County employees could not have occurred but for the
deliberate indifference, help, assistance, and/or acquiescence of other Deputy Sheriffs and/or County
employees who had a duty to protect the female inmates from this predatory behavior, but did nothing to
stop it. The conduct of these individuals, as well as those charged currently as DOES, show a corruption
so pervasive that other correctional officers or Deputy Sheriffs must have assisted this conspiracy or failed
to discharge their sworn duty to protect the rights of these vulnerable female inmates.

38. During all the acts set forth herein, Defendants, and each of them, were acting under the color
of their authority as Deputy Sheriffs and/or law enforcement officers or agents of the County. Further,
Defendant County, Defendant Sheriffs Carter and Loera, and other supervisory and training personnel are
individually and personally liable for this constitutional violation because their individual and collective
failure to train, supervise, or their individual and/or collective incompetence in executing the training and
supervision led to the violation of Plaintiff's constitutional right to be free of sexual depredations by a law
enforcement officer.

39. Asaproximate result of the conduct of Defendants, and each of them, Plaintiff was hurt and

injured in her strength, health and activity, sustaining injuries to her body and shock and injury to her

(Complaint for Damages for Personal
[Injuries and Violation of Civil Rights 7

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nervous systems and person, all of which said injuries have caused, and will continue to cause, Plaintiff
great mental, emotional, physical and nervous pain and suffering. Plaintiffis informed and believes and
thereon allege that said injuries will result in permanent mental disabilities to Plaintiff.
CAUSE OF ACTION
(Deprivation of Rights Under Color of State Law - 42 U.S.C. § 1983 - As to All Defendants)

40. Plaintiff reasserts and re-alleges Paragraphs 1 through 39 of this Complaint as though the
same were set forth herein in full.

41. Plaintiff alleges that Defendants Dillon, Carter, Loera, and DOES 1 through 100, employees
of the County, acting in the course and scope of their employment with the County through its Sheriff's
Office, and acting under the color of authority, violated the protections and rights guaranteed to Plaintiff
by laws, treaties, and the Constitution of the United States.

42. Defendants Dillon, Carter, Loera, and DOES 1 through 100, as of yet unknown officers
and/or agents of the County and the ICSD individually, and through their conspiracy with one another, and
pursuant to the official policy and/or custom of the ICSD, deprived Plaintiff of her federally protected
constitutional rights while acting under color of their authority as law enforcement personnel. Defendant
County is liable because this incident resulted from official policy and/or a longstanding practice or custom
of the ICSD.

43. | Defendants Carter, Loera, and the County are liable because a policy or custom made,
implemented and/or ratified by these defendants caused the violation of federal law by Defendants Dillon,
and DOES 1-100, which directly caused Plaintiffs injuries. In addition, each of these governmental entities
is liable for the violations of constitutional rights committed by their agents, officers, and employees against
Plaintiff because these constitutional violations were ratified by a policy-making level employee. Thus,
Plaintiff contends that a policy-making level employee for each governmental entity defendant made, or
ratified, a decision that deprived Plaintiff of her constitutional rights.

44. Defendants Carter, Loera, and County of Imperial are also liable through their (separate and
joint) omissions for the constitutional and statutory violations committed by its employees independent of

ratification. Even if the policy and custom was not ratified by Defendants Carter, Loera, or the County, and

Complaint for Damages for Personal
[injuries and Violation of Civil Rights 8

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regardless of whether their policies were facially constitutional, whether Defendants did not direct the
employee to take the unconstitutional action, and whether the municipality did not have the state of mind
required to prove the underlying violation, the deliberate indifference of the County, Carter, and Loera led
it to its omissions which allowed Defendant Dillon and DOE defendants to engage in the systemic violation
of Plaintiff's constitutional and statutory rights. Further, Defendants County, Carter, and Loera, were on
actual or constructive notice that their omission(s) would likely result in a constitutional violation.

45. Defendants Dillon, Carter, Loera, and DOES 1 through 100 conspired and arranged for
Defendants’ illegal and unconstitutional treatment of Plaintiff not to be reported to proper authorities and
for Defendants, including Defendant Dillon who is believed to be related to Defendant Carter by marriage,
not to suffer any adverse consequences in their employment as a result of their illegal and unconstitutional
conduct toward Plaintiff.

46. In doing the acts described herein above, Defendants Dillon, Carter, Loera, and DOES 1
through 100, were acting as the agents, servants, workmen, employees, and/or co-conspirators of all other
Defendants, and each of them. Plaintiff is informed and believes and thereon alleges that at all times herein
mentioned, each of the Defendants was the agent and employee of each of the remaining defendants, and
in doing the things in here alleged, was acting within the scope of such agency. Defendant Dillon, and any
other DOE Defendant who acted as a supervisor during this incident, is liable both for his/her individual
acts and for any other unconstitutional acts committed by others which the supervisory Defendant set in
motion. Finally, Defendant Sheriffs Carter and Loera (and DOE supervisory ICSD employees sued herein
as DOES 1-100) are liable because they ratified and/or condoned the unconstitutional and illegal conduct
of Defendants Dillon and DOES 1-100. Because Defendants Sheriff Carter and Loera and the supervisory
DOE Defendants are sued in their official capacities (in addition to their individual capacities), the County
is liable for their illegal conduct.

47. Incommitting the acts and omissions alleged and described herein above, Defendants were
acting under the color of the laws of the State of California and the County, to deprive Plaintiff of federally
protected rights under the Fourth and Amendment. Each of the Defendants named herein acted under color

of authority of the State of California and the County of Imperial.

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48. At no time did Plaintiff give valid, lawful consent to the unlawful acts of Defendants, nor did
Plaintiff ever give consent to any of the other unlawful and tortious actions committed by Defendants as
alleged herein.

49. As a direct and proximate result of the above-described unlawful and malicious acts of
Defendants, all committed under color of their authority and while acting in that capacity, Plaintiff suffered
grievous bodily harm, pain, and severe mental suffering, all of which is in violation of her rights under the
laws and constitution of the United States.

50. By reason of the Defendants’ conduct, Plaintiff was deprived of rights, privileges, and
immunities secured to her by the Constitution and laws of the United States (and particularly, the Fourth
Amendment), in that her sexual abuse amounted to an arbitrary, unlawful intrusion by Defendants into the
security of Plaintiff s privacy, person, body, and bodily integrity, were not authorized by law. Additionally,
Plaintiffs rights were violated in that the contacts on Plaintiffs person and damage to her person deprived
Plaintiff of liberty and property interests without due process of law.

51. In doing the things herein alleged, Defendants, and each of them, acted willfully. The acts
of each of the Defendants were in violation of the laws of the United States of America and the State of
California and constitute malice, oppression, and fraud, in that the Defendants intended to cause injury to
Plaintiff, thus entitling Plaintiff to punitive damages against Defendants Dillon, and DOES 1-100.

52. By this action, Plaintiff seeks all legal and equitable relief to which she may be entitled,
including, but not limited to, compensatory and punitive damages, attorneys fees and costs, and
prejudgment interest.

JURY DEMAND
Plaintiff hereby respectfully makes a demand for a jury trial.
PRAYER FOR JUDGMENT AND DAMAGES

WHEREFORE, Plaintiff prays for judgement against Defendants, and each of them, as follows:

(1) for general damages in an amount according to proof at the time of trial;

(2) for specific damages in an amount according to proof at the time of trial;

(3) for punitive damages (against Defendants Dillon, Carter, and Loeraand DOES 1-100);

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(4) for attorney fees and costs pursuant to Title 42 U.S.C. §§ 1983, 1985, and any and all
other federal, state or local statutory, case law or equitable powers of this Court that
may apply;

(5) for an order granting such other and further relief, including pre-judgment interest, as

the Court may deem equitable and just.

Respectfully submitted this 15th day of October
2008,

DAVID J. ZUGMAN
GERALD SINGLETON
Attorney for Plaintiff Brenda Flores-Nunez

Complaint for Damages for Personal
[injuries and Violation of Civil Rights 11

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UNITED STATES
DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
SAN DIEGO DIVISTON

# 156072 — Tce
October 15, 2008
12:54:19

Civ Fil Non-Pris
USAO #.: O8CV1881
Judge..: THOMAS J WHELAN
Amount, : $350.00 CC

Total-> $350.00

FROM: FLORES-NUNEZ
VS
DILLON

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@JS 44 (Rev. 12/07) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither re eplace nor supplement the filing and service of pleadings or ol he required by law;,except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of t enor ourt(e the'purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.) Chee Sie

I. (a) PLAINTIFFS DEFENDANTS

BRENDA FLORES-NUNEZ CORBIN DILLON, warol eel eRIAIeNER ocr

COUNTY OF IMPERIAL :DQ ‘S 4-;
(b) County of Residence of First Listed Plaintiff MEXICO cone Residence of First Liste Bet

(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDE ATION CASES, USE THE LOCATION OF ye
LAND INVOLVED” : ,

(c) Attorney's (Firm Name, Address, and Telephone Number) Attorneys (If Kno
Burcham & Zugman, A.P.C., 964 Fifth Avenue #300 SD CA 92101 08 CV 1 8 8 1 W CAB

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) IIL CITIZENSHIP OF PRINCIPAL PARTIES Place an “X” in One Box for Plainti
(For Divérsity Cases Only) and One Box for Defendant)
O11 US. Government 3° Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 0} O 1 Incorporated or Principal Place go4 04
. of Business In This State
G2 US. Government 0 4 Diversity Citizen of Another State QO 2 © 2 Incorporated and Principal Place o5s o5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State ,
Citizen or Subject of a O03 © 3° Foreign Nation 06 O86
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NATURE OF SUIT Place an “X” in One Box Onl

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© 130 Miller Act O 315 Airplane Product Med. Malpractice |) 625 Drug Related Seizure 28 USC 157 1 430 Banks and Banking
CO 140 Negotiable Instrument Liability 0 365 Personal Injury - of Property 21 USC 881 © 450 Commerce
© 150 Recovery of Overpayment | 320 Assault, Libel & Product Liability © 630 Liquor Laws PROPERTYIRIGHTS © 460 Deportation
& Enforcement of Judgment Slander 1 368 Asbestos Personal {0 640 R.R. & Truck 0 820 Copyrights O 470 Racketeer Influenced and
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Student Loans © 340 Marine PERSONAL PROPERTY Safety/Health 490 Cable/Sat TV
(Excl. Veterans) © 345 Marine Product O 370 Other Fraud (7 690 Other O 810 Selective Service
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OG 245 Tort Product Liability O 444 Welfare (535 Death Penalty ERNE i HH O = 900Appeal of Fee Determination
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Employment ($50 Civil Rights 0 463 Habeas Corpus - to Justice
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V. ORIGIN (Place an “X” in One Box Only) Appeal to District
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Proceeding State Court Appellate Court Reopened (specify) Litigation Judement
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VI. CAUSE OF ACTION Brief description of cause: ' |
Violation ot civil rights by correctional otticer's sexual abuse ot inmate
VII. REQUESTED IN © CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint: _
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: @ Yes No
VIN. RELATED CASE(S) Sei oo
IF ANY (See instructions): UDGE : DOCKET NUMBER
DATE SIGNAT. ORNEY OF RECORD
10/15/2008 / *
FOR OFFICE USE ONLY —

RECEIPT # [560712 AMOUNT 4 Z50 APPLYING IFP JUDGE MAG. JUDGE

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